Case 5:06-cr-50096-SMH-MLH   Document 148   Filed 03/13/07   Page 1 of 6 PageID #:
                                    612
Case 5:06-cr-50096-SMH-MLH   Document 148   Filed 03/13/07   Page 2 of 6 PageID #:
                                    613
Case 5:06-cr-50096-SMH-MLH   Document 148   Filed 03/13/07   Page 3 of 6 PageID #:
                                    614
Case 5:06-cr-50096-SMH-MLH   Document 148   Filed 03/13/07   Page 4 of 6 PageID #:
                                    615
Case 5:06-cr-50096-SMH-MLH   Document 148   Filed 03/13/07   Page 5 of 6 PageID #:
                                    616
Case 5:06-cr-50096-SMH-MLH   Document 148   Filed 03/13/07   Page 6 of 6 PageID #:
                                    617
